

ORDER

PER CURIAM:
AND NOW, this 1st day of March, 2000, Samuel Robert Miller, III, having been *606disbarred by consent from the practice of law in the State of New Jersey by Order of the Supreme Court of New Jersey dated September 14, 1999; the said Samuel Robert Miller, III, having been directed on December 17,1999, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Samuel Robert Miller, III, is disbarred from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
